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EXHIBIT C
6/20/2017                                         Chase Online - 27-3
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   Chase Online

     Review this request — Read and confirm the details for this wire request.
     Click "Wire Activity" to go back on the Activity page.

    Wire Details


    Account Details


  Wire to                                  Cooper Square Ventures(...7345)
  Wire from                                ChannelReply Checkin (...7775)

    Wire Details ­ Sender


  Wire amount                              3454.84 U.S. Dollars (USD)
  Scheduled On                             06/20/2017 at 10:20 AM ET
  Wire date                                06/20/2017
  Message to recipient
  Message/instructions to recipient
  bank
  Memo
  Transaction number                       5018259559
  Fed reference number                     N/A
  Status                                   In Transit
  Submitted by                             Administrator on 6/20/2017 10:20:17 AM
  Last modified by                         Administrator on 6/20/2017 10:20:17 AM
  Approved by                              Not Available

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